
650 S.E.2d 813 (2007)
William R. SISK
v.
CITY OF GREENSBORO.
No. 305P07.
Supreme Court of North Carolina.
August 23, 2007.
William R. Sisk, pro se.
R. Thompson Wright, Greensboro, for City of Greensboro.
Prior report: ___ N.C.App. ___, 645 S.E.2d 176.

ORDER
Upon consideration of the petition filed on the 3rd day of July 2007 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 23rd day of August 2007."
